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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

KENNETH SPRIGGLE, #LU-5028
S.C.I. Benner

301 Institution Dr.
Bellefonte, PA 16823

V.

C.0. MICHAEL LeVEBRE,
Sgt. McCullough, Inmate Carlton
Ewell,

Case No.

 

CIVIL COMPLAINT scrifon

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This Complaint is being filed under 42 U.S.C. §1983 - State offtcials

All Defendants are being sued in their Individual Capacities.

1. PREVIOUS LAWSUITS
A. Plaintiff has not filed any previous lawsuits in Federal

Court.

INTRODUCTION

2. This is an action filed by Kenneth Spriggle under Section 1983 for
violations of his Civil Rights related to an assault that occurred

on March 9, 2017 at approximately 5:10 p.m. by Inmate Ewell. Plain-
tiff was severely beaten by Inmate fFwell in the presence of C.O.
LeVverbe, who failed to act to stop the assault on Plaintiff. Asa
result, Plaintiff suffered traumatic brain injuries, and had to be
Life Flighted to the Hospital for brain surgery. While in route,
Plaintiff had to be revived. Plaintiff currently has a plastic plate
in his skull and is permanently disabled, requiring therapy. Plain-
tiff attempted to file grievances regarding this matter, but is unable
to complete the process without assistance. Plaintiff has been denied
the right to file a criminal complaint with the State Police, and has
requested that all video footage of the March 9, 2017 attack be pre-
served without response from staff.

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JURISDICTION

3. Jurisdiction of this Court is invoked pursuant to 28 U.S.C.
§1331(a) in that this case is a civil action arising under the
Constitution of the United States.

4. Jurisdiction of this Court is invoked pursuant to 28 U.S.C.
§1343(a)(3) in that this actions seeks to address deprivation,
under the color of state law, of rights secured by Acts of Congress
providing for equal rights of persons within the Jurisdiction of
the United States.

5. Supplemental Jurisdiction of this Court in invoked pursuant to
28 U.S.C. §1367 and §1391, allowing Plaintiffs to seek relief where
any Defendant resides, if all Defendants reside in the same state.

PARTIES

6. Plaintiff, Kenneth Spriggle, at all times relevant, was confined by
the Pennsylvania Department of Corrections (PA DOC) at the State
Correctional Institution at Benner Township.

7. Defendants,

at all times relevant, were employed by the Pennsylvania Department of
Corrections and worked at the State Correctional Institution at
Benner Township.

8. Defendants,
at all times relevant, were employed by Geisinger Medical Center

9. Defendant, Inmate Carlton M. Ewell, FP-3049, at all times relevant,
was confined by the Department of Corrections (PA DOC) at the State
Correctional Institution at Benner Township.

EXHAUSTION OF AVAILABLE REMEDIES

10. Plaintiff has exhausted all available remedies in accordance
with 42 U.S.C. §1997(e. (a).

ll. Plaintiff is prepared to show that any contention of non-
exhaustion can be directly attributed to interference by Defendants
and can back all claims through documentation and case law.

 
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STATEMENT OF FACTS

12. On March 9, 2017, at around 17:10, Plaintiff, Kenneth Spriggle,
returned to his cell on HA-Block, Cell 182, and stood at the cell door
while C.0O. Michael LeVerbe made rounds with the computer wand.

13. While waiting for his door to be opened, Plaintiff was attacked
from behind with a padlock in a sock by Inmate Ewell, who was housed
in 170 cell.

14. Plaintiff was struck approximately 15 times on the left side of
his head, and was subsequently kicked while lying on the floor by
Inmate Ewell,

15. C.0O. LeVerbe witnessed Inmate Ewell attacking Plaintiff, but
failed to intervene, allowing Inmate Ewell to continue beating Plain-

tiff unabated.

16. A couple of Guards entered HA-Biock in response to the attack on
Plaintiff, but they also hesitated in stopping the attack by Inmate
Ewell on Plaintiff.

17. Plaintiff was taken to the hospital by an ambulance, and was
then life-flighted to Geisinger Medical Center. While in transit,
Plaintiff coded and needed to be revived.

18. Plaintiff had to undergo an operation on the left side of his
skull due to severe swelling, and a plastic plate had to be placed in
Plaintiff's skull.

19, Plaintiff was transported to Pittsburgh Hospital for rehabili-
tation.

20. Plaintiff was returned to S.C.I. Benner's Infirmary, where he
was informed that Inmate Ewell was in the Restrictive Housing Unit.

(RHU).

21. A Certified Peer Specialist (CPS) named “Red" assisted Plaintiff
in filing a grievance regarding Inmate Eweil still being in S.CI.
Benner. After about 90 days Inmate Fwell was transferred to another
facility.

22, CPS "Red" assisted Plaintiff in filing a second grievance regard-
ing the March 9, 2017 attack. Staff has failed to respond to this
grievance,

23. Plaintiff was informed that a State Trooper - Mr. Paulica, wanted
to speak with Plaintiff regarding the March 9, 2017 attack in about

2 to 4 months after he healed from his surgery by Unit Manager Unban-
ick.

Qh, Plaintiff was informed that Trooper Paulica returned to S.C.I.
Benner to speak with him regarding the March 9, 2017 attack by Inmate
Ewell, and a Nurse told him that the matter was was resolved, and
Plaintiff did not wish to pursue charges against Inmate Ewell.

25. Plaintiff and his family has requested that video footage on the
March 9, 2017 attack by Inmate Fwell on Plaintiff be preserved and
provided by staff to Plaintiff's family, but, to date, has been denied.

 
 

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26. Plaintiff has requested to staff, including Unit Manager Urban-
ick, Counselor Eaken, and Security, that he be permitted to speak
with the State Police, (Trooper Paulica), regarding pressing charges
against Inmate Ewell, but has been denied.

27. Plaintiff has been informed that the Dept. of Corrections has
implemented a policy regarding inmate-on-inmate assaults where they
require at least 2 staff members for every inmate involved in an
assault. This policy is responsible for the unabated assault on
Plaintiff by Inmate Ewell while C.0. LeVerbe stoud idiy by.

2&6. As a result of this vicious attack, Plaintiff has suffered perm
anent damage, inciuding seizures, a speech impediment, partiai paral-—
ysis, memory loss, migraine headaches, and has a plastic piate in his
scull,

CLAIMS FOR RELIEF

 

Plaintiff, Kenneth Spriggle, reallege and incorporate herein,
individually, severally and/or jointly the allegations contained in
Paragraphs 1 through >

The failure of Defendant C.0. Michael LeVerbe to act on behalf
of Plaintiff contributed and/or proximately caused the above-describ-
dd damage to Plaintiff in violation of the Sixth, Eighth, and Four-
teenth Amendments to the U.S. Constitution.

The failure of Sgt. McCullough and other staff who res-
ponded to the March 9, 2017 attack on Plaintiff contributed to and/or
proximately caused the above-described damage to Plaintiff in viola-—
tion of the Sixth, Eighth, and Fourteenth Amendments to the U.S.
Constitution,

The actions of Nurse Janice in informing Trooper
Paulica that Plaintiff did not want to press charges regarding the
March 9, 2017 attack violated the U.S. Constitution.

The actions of Staff members in refusing Plaintiff and his family
access to the video footage of the March 9, 2017 attack on Plaintiff
in violation of his Constitutional rights.

The actions and/or inaction of staff in failing to respond to
his grievance related to the March 9, 2017 attack violated Plaintiff's
Constitutional rights.

 
 

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The actions of Inmate Ewel! in attacking and assaulting Plaintiff
resulting in permanent damage to Plaintiff's skull and mental abilit-
ies violated Plaintiff's Constitutional rights.

The actions of Supt. Tammy Ferguson, Secretary of Corrections
John Wetzel and others in implementing a policy requiring that 2
staff members for every 1 inmate involved in a physical altercation
caused the above-described violations of Eighth Amendment to the
U.S. Constitution.

Plaintiff seeks Injunctive Relief in the form of release of all
footage related to the March 9, 2017 attack on Plaintiff on HA~Block,
and the names of all staff members who responded to the March 9, 2017
assault by Inmate Ewell.

Plaintiff, Kenneth Spriggle, seeks Compensatory Damages in the
amount of $ [a miley} against each Defendant, individually,
Severally, and Jointly.

Plaintiff, Kenneth Spriggle, seeks Punitive damages in the
amount of $ / against each Defendant, Individually,
Severally and Jointly.

Plaintiff, reppecn Spriggle, seeks Actual Damages in the
amount of $ vill ou against each Defendant, Individually,
Severally and Jointly.

Ae PO Kenneth Spriggle, seeks Nominal Damages in the amount
of $ MitljOW_ against each Defendant, Individually, Severally,
and Jointly.

Plaintiff seeks a TRIAL BY JURY OF TWELVE on all triable issues.

Plaintiff requests any additional relief this Court deems just,
proper, and equitable.

Respectfully Submitted,

sare: May 21, LOE Bbrvth LP

KENNETH SPRI@GL¥ J LU-5028
S.C.1. Benner

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SCT, BENNER TownshiP

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